             Case 1:20-cv-00769-ELH Document 28 Filed 06/02/22 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


    CHAMBERS OF                                                    101 WEST LOMBARD STREET
  SUSAN K. GAUVEY                                                  BALTIMORE, MARYLAND 21201
U.S. MAGISTRATE JUDGE                                            MDD_skgchambers@mdd.uscourts.gov




                                    June 2, 2022

 TO ALL COUNSEL OF RECORD:

       Re: Bair v. United States of America
           Civil Case No. ELH-20-769

 Dear Counsel:

      This is to confirm that the settlement conference in the
 above referenced case is hereby scheduled on Monday, July 25,
 2022, at 1:00 p.m., to be held via Zoom.

      The ex parte letters requested in my September 20, 2021
 letter order will now be due on July 5, 2022. Plaintiff shall
 submit a written itemization of damages and a settlement demand
 to the defendant on July 5, 2022, with a copy to the Court, and
 the defendant shall submit a written offer to the plaintiff and
 any alternate itemization of damages on July 11, 2022, again
 with a copy to the Court.

      Despite the informal nature of this ruling, it shall
 constitute an Order of Court, and the Clerk is directed to
 docket it accordingly.

          I look forward to seeing you on July 25th.

                                        Sincerely yours,


                                              /s/

                                        Susan K. Gauvey
                                        United States Magistrate Judge


 cc:      Honorable Ellen L. Hollander
          Court and Chambers File
